
PER CURIAM.
Christopher Harris appeals the summary denial of his motion for postconviction relief. The motion, which was brought pursuant to State v. District Court of Appeal, First District, 569 So.2d 439 (Fla.1990), seeks belated appellate review of Harris’s conviction and sentence for escape. We find that the motion sets forth a prima facie showing of Harris’s entitlement to relief, and thus that the trial court erred in denying the motion without an evidentiary hearing or attachment of records. We reverse for further proceedings pursuant to Florida Rule of Criminal Procedure 3.850.
Reversed.
PARKER, A.C.J., and PATTERSON and ALTENBERND, JJ., concur.
